         Case 1:22-mc-00100-BAH Document 20 Filed 03/27/23 Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


 IN RE APPLICATION OF THE NEW YORK
 TIMES COMPANY AND CHARLIE SAVAGE
 FOR ACCESS TO CERTAIN DOCKETS,
 ORDERS, LEGAL BRIEFING, AND                            Case No. 1:22-mc-00100-BAH
 ARGUMENT TRANSCRIPTS ANCILLARY TO
 JANUARY 6 GRAND JURY PROCEEDINGS


                            APPLICANTS’ NOTICE OF APPEAL

       Applicants POLITICO LLC and its journalist Kyle Cheney (together, “POLITICO”), by

and through their undersigned counsel and pursuant to Fed. R. App. P. 4(a)(1), give notice that

they hereby appeal to the U.S. Court of Appeals for the District of Columbia Circuit from the

Order of this Court entered on February 23, 2023, denying POLITICO’s application for access to

dockets, court opinions and orders, legal briefing, and argument transcripts, including such

materials regarding the scope of executive privilege invoked by former President Donald J.

Trump or former Trump Administration officials, in any judicial proceeding(s) ancillary to the

grand jury investigation(s) into the 2020 presidential election and the January 6, 2021

certification of that election’s results. ECF No. 13.

         Dated: March 27, 2023             Respectfully submitted,

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